qs5iAO 154 (10/03) Substitution of Attorney




                                              UNITED STATES DISTRICT COURT
                                                                      I)istrict ol.                                               Arizona


                United States of America                                              CONSENT 0RI)ER GRANTING
                                                   Plaintif`f (s),                    SUBSTITUTION 0F ATTORNHY
                                V.
                       Amber Ortega
                                                                                      CASE NUMBER:                     20-mj-08904-N/A-LAB
                                                 Defendant (s),

           Notice is hereby given that, subject to approval by the court, AMBER ORTEGA                                                                   substitutes
                                                                                                                       (Pally (s) Nanic)

 Amy Pickering Knight                                                                    State Bar No.          031374                       as counsel of. record iti
                               Ovame ot.New Attoriie}/)


place of         Paul Gattone
                                                                ('Nanic uf AiLi}mc}i (s) WiLlidr`iLwiiig Appcarimcc)




Contact informatiori f`oT Tiew couT`se] is as f`ollows:

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           Telephone:                     (520) 878-8849                                        Facsimile

           E-Mail (Optional):             amy@amyknightlaw.com



I consent to the above substitution.

Date:
                       12/03/2021




                                                                                                                   (Sjgmml.e of Former A ttot.n€y (s))

I cotiserit to the above substitution.

Date:                                12/3/2021




The substi.tution of attorney is hereby approved and so ORDERED,


Date:
                                                                                                                                     Judge


[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
